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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY


                                           Case No.: 21-14934 (KCF)
 In Re:
                                           Chapter 11 (Subchapter V)
 DUKAT, LLC,
                                           Judge: Hon. Kathryn C. Ferguson
     Debtor.
                                           Hearing date: October 26, 2021
                                                         at 10:00 a.m.




================================================================


          DEBTOR’S MEMORANDUM OF LAW IN SUPPORT OF MOTION
          TO ESTIMATE AND/OR FIX CLAIM OF TARVISIUM HOLDINGS, LLC
          AND 45N12E, LLC PURSUANT TO 11 U.S.C. § 502(c)(1) AND FED. R.
          BANK. P. 3018(a)


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        Dukat, LLC, the debtor and debtor-in-possession (the “Debtor”), by and through its

undersigned counsel, Wilentz, Goldman & Spitzer, P.A., submits this Motion To Estimate and/or

Fix the Claim of Tarvisium Holdings, LLC and 45N12E, LLC Pursuant To 11 U.S.C. § 502(c)(1)

and Fed. R. Bankr. P. 3018(a), and respectfully requests entry of the Proposed Order, pursuant to

section 502(c)(1) of title 11 of the United States Code (the “Bankruptcy Code”). In support of this

Motion, the Debtor relies upon the arguments set forth herein and respectfully states as follows:

                                JURISDICTION AND VENUE

        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief requested herein

are section 502 of the Bankruptcy Code.

                                  STATEMENT OF FACTS

                                          Background

        On June 16, 2021 (the “Petition Date”), the Debtor filed its voluntary Chapter 11 petition

under Subchapter V of the Bankruptcy Code. [ECF 1]. Debtor continues to manage its affairs as a

debtor-in-possession pursuant to Bankruptcy Code Sections 1107(a) and 1108.

        On September 16, 2021, the Debtor filed its Plan of Reorganization. [ECF 46]. Plan

confirmation is scheduled for October 28, 2021. [ECF 47]. The deadline for filing claims was set

as August 25, 2021. The deadline for filing proofs of claim has passed.

        On August 24, 2021, Tarvisium Holdings, LLC (“Tarvisium”) and 45N12E, LLC

(“45N12”) filed a combined Proof of Claim with the Court in the amount of $8,629,598.24

(collectively, the “Tarvisium Claim”). Tarvisium and 45N12E qualified the claim on page 2,

question 7 of the claim as being “[u]nliquidated and subject to the adversary proceeding”.

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(emphasis supplied). The Debtor scheduled the claims of Tarvisium and 45N12 as unliquidated,

contingent and disputed in its Chapter 11 Schedules. The Tarvisium Claim is subject to bona fide

dispute through the filing of an Adversary Proceeding, a fact clearly acknowledged in the claim

itself, which attached as an exhibit, an Answer to Adversary Proceeding, Counterclaim and Third-

Party Complaint. In addition, the Tarvisium Claim, has never been fixed or liquidated by

adjudication in any court proceeding, and is wholly contingent and unliquidated based upon a

damage estimate/range as set forth in the Proof of Claim itself (See, page 5 of 22 of the claim).

Parenthetically, the Tarvisium Claim was also signed by a person without actual knowledge

attesting to the information set forth therein, and was filed on a combined basis by Tarvisium and

45N12, which makes voting impossible. Finally, the face amount of the Tarvisium Claim does not

track the information contained in the cover sheet of the Proof of Claim.

        In connection with the Debtor’s formulation of the Plan and its ongoing Plan confirmation

process, the Debtor has conducted, and continues to conduct, an ongoing review of claims filed in

this Chapter 11 case. As part of its ongoing review of filed claims, the Debtor has reviewed the

Tarvisium Proof of Claim and has concluded that such claim should be estimated and/or fixed at

zero (-0-) for confirmation and voting purposes pursuant to 11 U.S.C. § 502(c)(1) and Fed. R.

Bank. P. 3018(a) for the reasons set forth herein below.

        Debtor believes that the Tarvisium Claim should be resolved by this Court prior to

confirmation so as to ensure that confirmation of the Debtor’s Chapter 11 Plan proceeds without

undue delay in the administration of the case and to allow the assets of the estate to be appropriately

distributed in the correct amounts and pursuant to the priority order set forth in the Bankruptcy

Code. Accordingly, through this Motion, the Debtor respectfully requests entry of the Proposed

Order, pursuant to 11 U.S.C. § 502(c)(1) and Fed. R. Bank. P. 3018(a) and submits that the



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Tarvisium Claim should be estimated and/or fixed at zero (-0-) for confirmation and voting

purposes.

                                        BASIS FOR RELIEF

        A proof of claim is “deemed allowed, unless a party in interest . . . objects.” 11 U.S.C. §

502(a). Section 502(b) of the Bankruptcy Code provides that:

                the court, after notice and a hearing, shall determine the amount of
                [a] claim in lawful currency of the United States as of the date of the
                filing of the petition, and shall allow such claim in such amount,
                except to the extent that . . . such claim is unenforceable against the
                debtor and property of the debtor, under any agreement or applicable
                law for a reason other than because such claim is contingent or
                unmatured.

11 U.S.C. § 502(b)(1).

        When asserting a proof of claim against a bankrupt estate, a claimant must allege facts that,

if true, would support a finding that the debtor is legally liable to the claimant. In re Allegheny

Int’l, Inc., 954 F.2d 167, 173 (3d Cir. 1992). A proof of claim filed in accordance with 11 U.S.C.

§ 501 of the Bankruptcy Code and the Bankruptcy Rules typically constitutes “prima facie

evidence of the validity and amount of the claim.” Fed R. Bankr. P. 3001(f).

        To receive the benefit of prima facie validity, however, the proof of claim must “set forth

facts necessary to support the claim.” In re Stoecker, 143 B.R. 879, 883 (N.D. Ill. 1992);

Allegheny, 954 F.2d at 167 (“[A] claim that alleges facts sufficient to support a legal liability to

the claimant satisfies the claimant’s initial obligation to go forward.”). Initially, the burden of proof

lies on the claimant; if the claimant supports his claim with sufficient facts or documentation, the

claim is deemed prima facie valid. In re Devonshire PGA Holdings LLC, 548 B.R. 689, 697

(Bankr. D. Del. 2016) (citing In re Allegheny Int’l, Inc., 954 F.2d at 173–74); Lampe v. Lampe,

665 F.3d 506, 514 (3d Cir. 2011).



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        A claimant’s failure to allege facts and to provide sufficient support for a claim deprives

the claim of prima facie validity. See, e.g., In re Jorczak, 314 B.R. 474, 481-82 (Bankr. D. Conn.

2004) (discussing the evidentiary requirements and burden of proof with respect to the allowance

of claims); In re Los Angeles Int’l Airport Hotel Assoc., 196 B.R. 134, 139 (9th Cir. BAP 1996).

Moreover, while a properly filed proof of claim is prima facie evidence of the claim’s allowed

amount, when an objecting party presents evidence to rebut a claim’s prima facie validity, the

claimant bears the burden of proving the claim’s validity by a preponderance of evidence. See In

re Allegheny Int’l, Inc., 954 F.2d at 173-74. The burden of persuasion with respect to the claim is

always on the claimant. See, e.g., Biolitec, AG v. Cyganowski, No. 13-cv-5864, 2013 WL

6795400, *3 (D.N.J. Dec. 16, 2013); In re Allegheny Int’l, Inc., 954 F.2d at 173-74.

        Debtor has standing to file objections to claims under sections 502 and 1109(b) of the

Bankruptcy Code. In fact, a debtor in possession in a chapter 11 case “has the duty to object to the

allowance of any claim that is improper.” In re Int’l Yacht & Tennis, Inc., 922 F.2d 659, 661-62

(11th Cir. 1991); see also 11 U.S.C. §§ 704(a)(5), §1106(a)(1), & § 1107(a). Once an objection to

a claim is filed, the Court, after notice and hearing, shall determine the allowed amount of the

claim. 11 U.S.C. § 502(b).

        Pursuant to 11 U.S.C. § 502(c)(1) and Fed. R. Bank. P. 3018(a) the Court may estimate

for purpose of allowance under any contingent or unliquidated claim, the fixing or liquidation of

which, as the case may be, would unduly delay the administration of the case. Although § 502(c)(1)

mandates that bankruptcy courts estimate unliquidated and contingent claims for purposes of

allowance, because “Congress intended that all claims, including unliquidated and contingent

claims, be ‘dealt with’ in the bankruptcy proceeding[,]” additional authorities have expanded the

purposes for which claims estimation may occur. Addison v. Langston (In re Brints Cotton Mktg.,



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Inc.), 737 F.2d 1338, 1340 (5th Cir. 1984) (citations omitted). Such other purposes include voting

on proposed plans of reorganization. See, e.g., In re Farley, Inc., 146 B.R. 748, 753 (Bankr. N.D.

Ill. 1992) (allowing estimation for voting and feasibility); In re Continental Airlines Corp., 60 B.R.

903, 905 (Bankr. S.D. Tex. 1986) (allowing estimation for voting).

        Fed. R. Bank. P. 3018 of the Bankruptcy Rules expressly permits estimation of claims for

plan voting purposes and provides that “[n]otwithstanding objecting to a claim or interest, the court

after notice and a hearing may temporarily allow a claim or interest in an amount which the court

deems proper for the purpose of accepting or rejecting a plan.” Fed. R. Bankr. P. 3018(a). Despite

the fact that “[a]n estimate necessarily implies no certainty,” In re Nova Real Estate Inv. Trust, 23

B.R. 62, 66 (Bankr. E.D. Va. 1982), because it comprises “the court's best estimate for the purpose

of permitting the case to go forward and thus not unduly delay the matter[,]” id., courts have held

that a bankruptcy court is not prevented from making a “speedy and rough estimation of ... claims

for purposes of determining [a claimant's] voice in the Chapter 11 proceedings.” In re Chateaugay

Corp., 944 F.2d 997, 1006 (2d Cir. 1991) (citing Bittner v. Borne Chem. Co., Inc., 691 F.2d 134,

137 (3d Cir. 1982)) (additional citation omitted).

        When estimating claims, bankruptcy courts may use whatever method is best suited to the

contingencies of the case, as long as the procedure is consistent with the fundamental policy of

chapter 11, which requires speed and efficiency. In re Adelphia Bus. Sols., Inc., 341 B.R. 415, 422

(Bankr. S.D.N.Y. 2003); see also Bittner, 692 F.2d at 136-137. “[T]here [is] no requirement that a

particular kind of procedure be employed in estimating the value of [a] claim.” Kool, Mann, Coffee

& Co. v. Coffey, 300 F.3d 340, 356 (3d Cir. 2002). Rather, “[t]he only requirement is that the

value of the claim be determined in accordance with the legal rules that will govern the final

amount of the claim.” In re Armstrong World Indus., Inc., 348 B.R. 111, 123 (D. Del. 2006) (citing



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Bittner, 691 F.2d at 135-136). In determining whether to allow a claim temporarily for voting

purposes, courts may look to, among other things, the proof of claim filed to determine what the

parties' expectations were regarding the amount and nature of the claim to be voted. In re Stone

Hedge Props., 191 B.R. 59, 65 (Bankr. M.D. Pa. 1995).

        Here, the Tarvisium Claim is neither fixed nor settled and is complexly contingent upon a

litigation outcome and/or judicial determination, as well as overcoming a claim on a $4 Million

promissory note which was given to the Debtor in 2018. Furthermore, the Tarvisium Claim is

based upon a range of recovery founded upon an alleged damage calculation without evidence or

proofs other than a self-serving report that is clearly one-side, without attachments, and does not

take into consideration the transactional closing documents or the $4 million seller note provided

by the Tarvisium Parties in 2018. Accordingly, the Court should fix the Tarvisium Claim at zero

(-0-) and disallow such claim for voting purposes.

                                RESERVATION OF RIGHTS

        Debtor expressly reserves generally, and as set forth herein, any and all rights to amend,

modify or supplement this Motion, the Proposed Order and to file additional objections to any and

all claims (filed or scheduled) that have been or may be asserted against the Debtor, including,

without limitation, any and all other disputed claims and/or remaining claims. The Debtor also

reserves any and all rights of the Debtor and its estate, including, without limitation, claims and

defenses with respect to any and all of the disputed claims and/or remaining claims, and nothing

included in or omitted from this Motion and, the Proposed Order is intended or shall be deemed to

impair, prejudice waive or otherwise affect any rights, claims or defenses of the Debtor, or its

estate with respect to the disputed claims and/or any remaining claims.




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                                             NOTICE

        Notice of this Objection has been given to (i) Tarvisium and 45N12E, through counsel; (ii)

the Office of the United States Trustee for the District of New Jersey; (iii) Subchapter V Trustee;

and (iv) all parties receiving electronic filing notifications in this case via the Court’s CM/ECF

system. In light of the nature of the relief requested herein, the Debtor respectfully submits that

such notice is sufficient under the circumstances and that no other or further notice of this Motion

is required.

                                         CONCLUSION

        Debtor respectfully requests that this Court enter an order granting the relief set forth in

this Motion and any further relief the Court deems just and proper.

                                              WILENTZ, GOLDMAN & SPITZER, P.A.
                                              Attorneys for Debtor, Dukat, LLC

                                              /s/ David H. Stein
                                              DAVID H. STEIN

Dated: September 23, 2021




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